     Case3:05-cr-00284-SI
    Case  3:05-cr-00284-SI Document
                            Document63
                                     64 Filed
                                         Filed05/11/2006
                                               05/12/06 Page
                                                         Page11ofof22



Steven Francis Gruel
Law Office of Steven F. Gruel
655 Montgomery Street, Suite 1700
San Francisco, CA 94111
415-989-1253
Fax: 415-576-1442

Attorney for Defendant


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                          SAN FRANCISCO DIVISION



UNITED STATES OF AMERICA, )                    Case No. CR-05-00284-SI
                              )
              Plaintiff,      )                [PROPOSED] ORDER AND
                              )                STIPULATION FOR CONTINUANCE
       vs.                    )                FROM MAY 12, 2006 TO MAY 26, 2006
                              )                AND EXCLUDING TIME FROM THE
AKRAM SABAR CHAUDHRY          )                SPEEDY TRIAL ACT CALCULATION
a.k.a Akram Sabar             )                (18 U.S.C. § 3161 (h)(8)(A))
                              )
______________________________)



      With the agreement of the parties, and with the consent of the defendants, the Court

enters this order continuing a scheduling and trial setting appearance before the district

court from May 12, 2006 to May 26, 2006 at 11:10 A.M. before the Honorable Susan

Illston, and documenting the defendant’s exclusion of time under the Speedy Trial Act, 18

U.S.C. § 3161(b), from May 12, 2006 to May 26, 2006. The parties agree, and the Court

finds and holds, as follows:

   1. Defense Counsel for Mr. Chaudhry is out of the state of California on May 12, 2006

       for personal reasons;

   2. The defense will need additional time to respond to the government’s reply to
       defenant, Chaudhry’s motion for discovery; and,

   3. Excludable time under the speedy trial act is provided in that a defense motion for
    Case3:05-cr-00284-SI
   Case  3:05-cr-00284-SI Document
                           Document63
                                    64 Filed
                                        Filed05/11/2006
                                              05/12/06 Page
                                                        Page22ofof22



      discovery is currently pending.



IT IS SO STIPULATED:
DATED: May 11, 2006  ________________/S/_______________

STEVEN F. GRUEL, ESQ.
Attorney for Defendant Chaudhry
DATED: May 11, 2006       ________________/S/_______________

Marc H. Axelbaum, ESQ.
Attorney for Defendant Adil
DATED: May 11, 2006       ________________/S/_______________

BLAKE D. STAMM
Assistant United States Attorney
May 11, 2006 ________________/S/_______________



IT IS SO ORDERED.



DATED: ______________             _______________________________
                                  HON. SUSAN ILLSTON
